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UNITED STATES DISTRICT COURT pact os OEBEID 4}
SOUTHERN DISTRICT OF NEW YORK torn gem coo
x
FRANK FUGGETTA, on behalf of himself and all : 17 Civ. 0378
others similarly situated, :
Plaintiffs,
NOTICE OF DISMISSAL

-against-

NATIONAL DEBT RELIEF LLC, DANIEL
TILIPMAN and ALEX KLEYNER,

Defendants.

X
PLAINTIFF HEREBY GIVES NOTICE, through his attorneys, Law Office of Andrea

Paparella, PLLC, in accordance with Rule 41 of the Federal Rules of Civil Procedure, the above

entitled action is voluntarily dismissed without prejudice against Defendants.

Dated: New York, New York
March 14, 2017

Law Office of Andrea Paparella, PLLC

By: LL~GL-

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